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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

(l) DALE L. ASTLE,
Plaintiff,
v.
(1) GUARANTY ABSTRACT COMPANY,

Defendant.

 

Case No. 14-CV-043 TCK-FHM

JOINT STIPULATION OF DISMISSAL

Dale L. Astle (PlaintifD, and Guaranty Abstract Company (Defendant) (hereinafter

collectively referred to as the “Parties”), by and through their respective counsel, and pursuant to

Rule 4l(a)(l)(ii) of the Federal Rules of Civil Procedure, hereby stipulate to the dismissal With

prejudice of all claims and causes of action brought in this case by Plaintiff. The Parties further

stipulate that they shall each bear their own attomeys’ fees and costs.

Dated: October 17, 2014

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Respectfully submitted,

HALL, ESTILL, HARDWICK, GABLE,
GOLDEN & NELSON, P.C.

s/J, Patrick Cremin

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and

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